 

Case 5:96-cV-00091-DF-HWI\/| Document 1963 Filed 03/16/98 Pagelot$P€g%tetPi£;)“lt-t§$?¢t

U.S. Dl§TiilC'l` C€§.ll,iti`i'
&ASTERN DISTWCT OF T§Z><Mf’;

 

 

ll\' THE UNI'I`ED STATES DlSTRICT COUiRT

 

 

 

 

Det`endants. § WENDELL C. RADFORD

REPLY TO TOBACCO DEFENDANTS’ RESPONSE TO MOTION TO INTERVENE
TO OBTAIN A DECLARATION OF RIGHTS BY DALLAS COUNTY, DALLAS
COUNTY HOSP!TAL DISTRICT, EL PASG COUNTY, EL PASO COUNTY HOSPITAL
DlSTRIC'I` AND HAR.R!S COUN'I`Y. HARR|S COUNTY HOSPI'I`AL DISTRICT

TO THE HONORABLE JUDGE OF SAID COURT:

Dallas County` Dallas County liospital District. El Paso County, El Paso County Hospital
Distn'ct, Harris County and Harris County l-lospital District, l\/Iovants. file this reply to the Tobacco
Def`endants` response to their motion for leave to intervene in this cause to obtain a declaration of
their rights and in furtherance thereof respectfully would show the Court as l`ollows:

I tio

l. The Tobacco Defendants’ response perfectly establishes why the Court must grant
the counties" and hospital districts` motions to intervene to obtain a declaration of their rights in
relation to the Final Judgment ofJanuary 22, 1998. and the settlement between the Attorney General
and the Tobacco Defendants incorporated in it.

2. No party contests that this Court can and should decide Movants` status under the
settlement But the Court should not decide procedurally. by denying the motions to intervene The
Tobacco Det`endants say thc Court should deny the interventions because the settlement fully
releases Movants` claims and they were adequately represented The Attorney General says the

Court should deny the interventions because the settlement does not affect Movants` own claims,

RF.PLY 'I`O TOB.-\(`.C'O DE!-`END,\NTS' RESPONSE 'I`O MOT'(ON T() IN'I`ERVENE TO OB'|`AIN A DECLARA'HON v
OF R|(}Il'l'S BV DALL.-\S COU.\`TY. D.~\l.LAS COUNTY HOSP]TA|. DISTR]CT. EL P.-\SO CUUNTV. EL P/\SO COUNT\'
liOSPlT'\Ll)|STRICT ‘\f\`D HARRlS COL'Nl Yl HARR|S (`OUNTY HOSP|TAL DlHRlC'l` - Pagc l LlTDAl.: |78|65 l 34865~\

EAsTERN otsriucr oF rEXAs i ,.
jr ,¢. TEXARKANA DleSIoN MAR l 6 w
ieit‘i;§#… § /=~

'E_;s;T)'{xTE OF TEXAS, § CIVIL NO.: 519 *~CV-OOS/tvir)a. ma tt- .cLEaK

!*"“"Piaimtrr, § t y § y

` _ § 1_ tt:~_;:1'trwmw,(,,,.i_;:s_:»,t,mi/(vi/( ,t,,,:_:,,,
v. § JUDGE; DAle FoLsoM

§

THE AMERICAN ToBACCo §
COMPANY, ET AL., § MAG!STRATE JUDGE;

,..w.»mwsw'm-M»

Case 5:96-cV-00091-DF-HWI\/| Document 1963 Filed 03/16/98 Page 2 of 8 Page|D #: 49825

so Movants are not interested Both imply a substantive ruling on Movants’ rights. The Court
should grant the interventions and then decide the issue expressly

3. The Tobacco Defendants` analysis of l\/lovants right to intervene is correct except as
to their conclusion that Movants` claims have been settled because Movants were adequately
represented That argument rests on a number of erroneous propositions, all of which the Court must
accept before it can hold that Movants` independent claims were inadvertently settled by the
Attomey General in this case. if the Cotut rejects these errors, it must agree with l\/lovants that their
claims are outside the Attomey General`s settlement The errors include errors of law, errors of fact
and errors ol` irrelevancy

lhe Tobacco Defendants’ Errors of !,§w

4. 'l`he Tobacco Defendants rely on the following incorrect assertions of law:

(a) The Attorney General has the authority to represent and settle the claims of
counties and hospital districts without their knowledge or consent.

(b) Overbroad language in the settlement agreement by itself can create an
attorney/client relationship between the Attorney General and the local
governments

(c) lfthe Attomey General asserts the state`s quasi-Sovereign authority to recover

v for its claims, he extinguishes all other independent claims within the
territorial limits ofthe state.

5. The Tobacco Defendants` present assertion of the broad authority of the Attorney
General to represent Movants against their Will is in stark contrast to their prior extensive briefing
of the statutory and constitutional limits of the Attorney General’s power See. e.g.. “C. The
Attorney General does not have the limitless powers he claims." at pp. 8~23 of Plaintil`fs` Opposition

to Defendants` Plea to the .lurisdiction and l\/lotion to Dismiss in Phillip Morri.s', [nc. el al. v. Drm

REPLY 'I`O TOBA(.`CO DEFE.'\'D/\NTS` RESPONSE TO MOTlON TO INTERVE.\'E 'I`O OBT/\lN A DECLARATIU.\ _
OF RlGHTS BY DALLAS COL'l\`T\'. DALL.~\S COUNT\' HOSP|T.-\l. DIS’|`RlCT. EL PASO (.`OUN'|`\". F.L PASO COUNTY
HOSP{TAL DlS'l`Rl(.'I` /\ND llARRlS COUNT\§H»\RR!S COUNT\" H.OSP!TAL DlS'l'RLCT'- Pngc 2 l.lTDAl.: l?Slé$.l 348()5-\

Case 5:96-cV-00091-DF-HWI\/| Document 1963 Filed 03/16/98 Page 3 of 8 Page|D #: 49826

Mora!e.s', et al.. cause no. 95-14807 in the l26th District Court of'l`ravis County. Texas (courtesy
copy provided).

6. Perhaps the Tobacco Defendants` current posture is simply conviction born of
expediency. since they must establish surprise and mistake or fraud to repudiate their settlement if
l\/lovants’ independent rights are vindicated The Tobacco Defendants fail to cite any provision of
the Texas constitution or 'l`exas statute which bestows authority on the Attorney General to represent
counties and hospital districts Movants already have cited the contrary authority in their prior briefs

7. The Attomey General and Movants argue that if the Attorney General does not
represent the local govemrnents. his settlement cannot release Movants` claims against the Tobacco
Defendants. Any language to the contrary in the settlement agreement no matter how many times
it is stated.` is ineffective The 'l'obacco Defendants fail to cite any authority for their novel
proposition that just because a settlement agreement purports to release a nonparty‘s claims it
becomes so. 'l`hey simply extensively quote the overbroad language from the settlement. as though
repetition will bestow legitimacy See Tobacco Defendants" response at pp. 7-l l. l\/iovants already
have briefed the contrary authority.

8. ,Finally, the Tobacco Defendants err in asserting that the settlement of the state’s
claims necessarily extinguishes the local governments own claims The important distinction is that
the counties and hospital districts have claims Which are independent from those of the state. The
Tobacco Defendants try to blur this distinction by referring to common causes of action, or a
common desire for the greatest possible financial recovery. or recoveries that would commonly
benefit the citizens of Texas who are also citizens of counties But ifthe legal injuries are different

settling one does not settle thc others.

9. By analogy, suppose an airliner crashes into a factory, wrecking it and injuring many

ofthe workers Under the Tobacco Defendants' reasoning, if the enterprise sues for negligence and

REPLV T() `l`OBAC(`() D\-lFF§ND/\NTS' RESPONSE TO M()TION TO |NTERVENE 'l`O OBT,\IN A DECL.-\RAT!O.\'
OI-' RlGHTS B\' DALI.AS (`.OUNTV. DALLAS COUNTY HOSP[TAL DlS.l'R(CT. EL P/\SO COUN'|`Y. F.L PASO C`OUNTY ,
HOSFlTAl. DlSTRlC'l` AND HARRIS COU`JTY. HARRIS COUNTY HOSP[TAI. DlSTRl(.'!` ~ Page 3 Ll'l`DAl.: 178165,1 34865~1

Case 5:96-cV-OOO91-DF-HWI\/| Document 1963 Filed 03/16/98 Page 4 of 8 Page|D #: 49827

settles with the airline for the damage to the facility. then the workers" claims for injury also are
included. since the workers will directly benefit if the factory is rebuilt to providejobs. Aiter all.
the workers` suits would be under the same negligence theory and they also would sue for the
maximum possible monetary recovery. But this is false reasoning because the workers‘ claims are
not subsumed within the enterprise’s. Without legal authority to represent the Worl<ers for their
distinct injuries the enterprise cannot settle their claims no matter how many times the settlement
agreement says so.

lO. Movants are not being absurd when they point out that the state of Texas` judgment
On its claims is not binding on their claims Just because both the state and Movants have citizens
for their constituencies does not make their claims identical. That is the reason the little authority
offered by the Tobacco Defendants is easily distinguished ln each ofthose cases the legal injury"
and hence the relief requested, was exactly the same for each of the different political subdivisions
and the citizens Their general proposition that a judgment against a state is effective against the
individual citizens ofthe state on the same claim does not apply if the claims are diit`erent.

l l. The Tobacco Defendants misplace their heavy reliance on Cz)umy ofBoyd v. U. S.
Ecr)/r)gi", ]m.'., 85_8 F. Supp. 960 (_D. Neb. 1994). q[f"d. 48 F.}d 359 (8th Cir. 1995). cert denied. 5l6
U.S. 3l4. ln that case the court found that the essence ofthe claims asserted by the public entities
was the same as that of the claims previously asserted by the Govemor of Nebraska. ld.. 858 F.
Supp. at 965. JThe court also found that the circumstances suggested “a coordinated litigation
strategy" between the govemor and the public entities, which clearly is not present in this case. [d..
858 F. Supp. at 970. Finally, C()rmry of Boyd does not conflict with Movants’ requested relief
because it is a privity case. determining when the same claim is barred by prior adjudication lt
provides no authority to hold that l\/lovants` independent claims must be subsumed within the state’s

settlement

RF.PLY '|`O TOB/\C(`() DEFENDANTS' RESPONSE TO MOT[ON T() lN'I`E,RVENE '[`O OBT/\ll\` A DECl..-\RAT[ON
OF RlGHTS HY DALLAS (_`OUNTY. D»\LLAS (FOUNT\' HOSPlTAL D|STRlCl`. El. P,‘\SO COUNTV. EL P/\SO (`OUNT\' v
HOSPlT/\ll DlSTRlCT \ND llARR!S COUl"J'|`Yl i{ARRlS COUNTY llOSPiTAL DISTRK.'T- Pagc 4 Ll`l'DAl.; I7Bl65.l 34865-1

Case 5:96-cV-OOO91-DF-HWI\/| Document 1963 Filed 03/16/98 Page 5 of 8 Page|D #: 49828

17

~.

Again using analogy to highlight the Tobacco Defendants’ faulty logic, ifthe state
contracted with defendants for services and the counties also contracted with them for services the
state`s settlement of a breach of contract claim would not bar the counties from suing on their
contracts even though both would result in recoveries for the people of Texas. The state’s
settlement for its contract claims would be binding on individual citizens, just as the counties’
settlement of their contract claims would bind individual citizens But neither settlement would
affect the other because the legal injuries would be different, just as i\/lovants’ claims against the

'l`obacco Defendants for their unreimbursed cost of treating tobacco related illness are different from

the state`s claim for l\/ledicaid funds

The acco Defend ts’ E ors o ‘act
13. The Tobacco Defendants rely on three errors of fact in order to make their argument:
('a) They say the state and the Movants assert the very same claims

(b) They say l\/Iovants` objectives are the same as the state`s.

(c) They say Movants cannot show they are victims of adversity or nonfeasance
in their alleged representation by the Attomey General.

l4. _The Attorney General has made it repeatedly crystal clear that the state sued only for
its damages for Medicaid reimbursement._ for its employee health benefit costs and for charity care
for tobacco related illness at live specific state supported hospitals Movants assert claims that are
completely different from the state`s claims including their unreimbursed health care costs
attributable to tobacco use, among others Movants also have employee benefit costs attributable
to tobacco illness which are distinct from the state"s. Some ofthe Niovants also have the cost of
providing health care to incarcerated persons with tobacco related illness None ofthese are the

same claims as those asserted by the state in this case.

REPLY TO 'l`OR»\(.'(`() Dl",FEND:\l’\`TS` RESPONSE 'l`O .\1OTlO.\' 'l‘O ll\"TERVf'lNE TO ()B l',\lN A DECI.A RATlON
OF RlGH'l'S BY DAL[,..\S (IO(!NT\". DALLAS CO!§NTY HOSP|TAL l)lSTRl(."l , EL P.~\SO (.'OUNTY. El. P.‘\SO (`Ol'N'l`ir'
llOSPl'l'AL DlS'l`RlCT .\\'D HARRlS COL`NTY. HARRIS (`.Ulh\'TY ll()SPlTAL. D|S'l`RlC_I - Pag¢ 5 Ll`l'DAL; l78l65.134865-|

Case 5:96-cV-00091-DF-HWI\/| Document 1963 Filed 03/16/98 Page 6 of 8 Page|D #: 49829

15. Mpvant`s objectives are not the same as the state’s. Attorney General Morales has
sued to obtain funds for the state`s damages to be paid into the state treasury. Movants’ claims are
for particular local unreimbursed expenses to be recovered at the local level. They are not
generalized benefits for the state or all the citizens of Texas.

l6. Movants are the victims of adversity or nonfeasance by their alleged representative
the Attorney General. The Attorney General has repeatedly opposed a presentation of t\/lovants’
claims in this case. The Attorney General never sought to assert Movants’ claims The Attomey
General never obtained information about l\/lovants’ damages The Attorney General made no
provision in his settlement for compensation to l\/lovants for the asserted release of Movants’ claims
The Attorney General was adverse to i\/lovants" interests at every step of the way. when they
appeared before this Court. His "representation" of Movants’ claims can only charitably be called
nonfeasance at best.

T eTobacco Defendant ’ Erro of Irr v rtc

l7. lrrelevant arguments based on asserted pragmatism are no basis for the Court to
decide the motions to intervene The Tobacco Defendants imply that the Court may as well deny
Movants leave to intervene. because even if Movants are not covered by the settlement. they cannot
succeed in asserting their own claims See. e.g.. footnote 12 ofthe Tobacco Defendants’ response.
'l`he whole discussion is premature Whether Movants can prevail in their own suit, on their legal
theories or evidence is the subject for that suit. not for this Court to predetermine in ruling on the
interventions

18. Counties and hospital districts have the authority to sue and be sued. whether through
quasi-sovereign authority or to vindicate their own proprietary interests as might be congruent with
the interests of their inhabitants /)1 re Mu/tidl`so'ict l/'ehicle Air Po//rttion M. D.L. No. 31, 48], F.Zd

lZZ. 131 (9th Cir. 1973). cert denied 414 U.S. 1045

REPLY I`O TOB \(` (.` () l)h`l"l'.NU.- \NTS‘ RLSPO.\`SE l 0 .\¢lOTlO`J TO l.\T l' RVENF 10 OBTA|N A DEL`LARAT]ON

GF RIGHTS BY I)ALL \5 CO( NT\ D\LLAS COl‘N l \1 HOSP|TAL DlSTRl(`.T EL PASO COU;\`T.Y Fl P~\SO COUNT\ l
STR Rl(`.T~ Pagcé |lTD/\L l/8l6514865l

 

Case 5:96-cV-OOO91-DF-HWI\/| Document 1963 Filed 03/16/98 Page 7 of 8 Page|D #: 49830

19, The Court need not decide the full range of causes ofaction available to Movants or
the extent of their damages for it to resolve the controversy over the scope of the release in the

settlement Movants can explore the limits oftheir claims in another forum, if the Court declares

that their claims are not released.

§§0nclusign

20. This Court must ensure that the effect of the Attomey General’s settlement on the
rights of third parties such as Movants, is neither unreasonable nor proscribed See U)ii'led$fa!e.r
v. City ofMiami. 664 F.Zd 435,441 (5th Cir. 1981) (en banc`); Terrazas v. Ramirez, 829 S.W.Zd 712,
7l9 (Tex. 1991). Movants seek simple and straightforward relief that this Court can and should
bestow. The Court should grant intervention and declare that the settlement of the State of Texas"
claims against the Tobacco Defendants incorporated in the Final Judgment does not release any

claims l\/Iovants may have against the 'l`obacco Defendants
Respectfully submitted,

fENKENS & GlLCl-iRlST.

A Prot`essional Corporation

1445 Ross Avenue. Suite 3200

Dallas. Texas 75202

214/855-4500 Fa:<: 214/855-4300

54 gay/lt /M¢R L~trduwu¢w~.,\

Robert R. Ries
State Bar No. 16914500

ATTORNEYS FOR DALLAS COUNTY AND
DALL/\S COUNTY HOSPITAL DISTRICT. EL
PASO COUNTY AND EL PASO COUNTY
l-lOSl’lTAL DlSTRlCT AND HARRIS COUNTY
AND HARRlS COUNT'Y' HOSPITAL DlSTRlCT

REPL\ l'O T()BA(.(` O DEPENDANTS' Rl'SPONSE 1() W|OTION 10 lNTERVE\`E T() OB'lAlN .-\ DE("L\RATION

OF' RlGl|'l S BY DR.A[ l AS COl NTY DALLAS CG¥|.\“TY |IOSPITAI UISTRl("l' EL PASO (.'OUNl` Y FL PASO COU.\`TY
` l .-T Pagc7 Ll'lD/\l.; 178165. l 34865-1

 

Case 5:96-cV-OOO91-DF-HWI\/| Document 1963 Filed 03/16/98 Page 8 of 8 Page|D #: 49831

Jose R. Rodriguez. El Paso County Attomey
State Bar no, 17146500

El Paso County Courthouse

500 E. San Antonio Ave., Rm. 203

El Paso. Texas 79901-2496

(915) 546-2050 (915) 546-2133 f`ax

OF COUNSEL FOR EL PASO COUNTY AND EL
PASO COUNTY HOSPITAL DISTRICT

Michael P. Fleming, Harris County Attorney
State Bar no. 07130600

Harris County Courthouse

1001 Preston, Suite 634

Houston. Texas 77002

(713) 755-5101 (713) 755-7965 fax

OF COUNSEL FOR HARRIS COUNTY AND
HARRIS COUNTY HOSPITAL DlSTRlC'l`

CERTIFICATE OF SERVICE

l hereby certify that on this 18th day of February, 1998. a true and correct copy of the
foregoing document has been forwarded to all known counsel of record in accordance with the
provisions of Fed. R. Civ. P. 5 and the Case Management Order.

& 5a nw Z,W)

Robert R. Ries

REPLY TO TOHA(`C.`O DEFFINDANTS’ RESP()NSE TO MOTlON TO INTERVENE TO OB'l'AlN /\ DFf(fl..-\RATION
OF RlGllTS BY' DAlil./\S (IOUNTY. D/\l,ltAS COUNTY HOSPITAL DlS'I`RlCT. EL PASO (.`OUNTY. L'l, PASO (fOUNTY
HOSPlTAL DlS'l'RlC.'T /\ND HARRlS (,`OUNTY. llARRIS COL"JTY ll()Sl’lT.»\L DlSTRl(I'l` - Pz\gc 8 l.lTD/\l.: 178165 l 34865-1

